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                             UNITED STATES DISTRICT COURT

                            NORTHERN DISTRICT OF CALIFORNIA


CELLWITCH INC.,                                   Case No. 19-cv-01315-JSW (AGT)
               Plaintiff,
                                                  DISCOVERY ORDER
         v.
                                                  Re: Dkt. No. 138
TILE, INC.,
               Defendant.

       By May 8, 2023, Title must supplement its responses to Cellwitch’s first set of interrog-

atories and complete its production of documents that are responsive to Cellwitch’s first set of

requests for production.

      IT IS SO ORDERED.

Dated: April 6, 2023


                                                   ______________________________
                                                   Alex G. Tse
                                                   United States Magistrate Judge
